                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )   Criminal No. 2:11-00002
                                                    )   Judge Trauger
                                                    )
[13] EMILY CAROL BRADLEY                            )

                                           ORDER

       It is hereby ORDERED that the revocation proceeding scheduled for June 23, 2014 at

4:00 p.m. is RESET for the same day at 10:30 a.m.

       It is so ORDERED.

       Enter this 20th day of June 2014.


                                           ___________________________________
                                                   ALETA A. TRAUGER
                                                 United States District Judge




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